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"" 2:04cR20256-04-Ml wm er m :~..tt=._t.tmes
ARlc BADY, sR.

Juni Gangulil CJA
Defense Attorney

40 South Nlain Street, #1540
Memphis, TN 38103

 

JUDGMENT lN A CRIM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the Indictment on February 28, 2005.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & section NSM Offense Number(st
Concluded
18 U.S.C. §371 Conspiracy to Commit an Offense 02/28/2003 1
Against the United States, to wit: Bank
Fraud

The defendant is sentenced as provided in the following pages of this judgmentl The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996.

Counts 7 is dismissed on the motion of the United States.
lT lS FURTHER ORDERED that the defendant shall notify the United States Attomey forthis district

within 30 days of any change of name, residence, or mailing address until all tines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 03/14/1972 June 2, 2005
Deft's U.S. Marshal No.: 19754-076

Defendant's lVlailing Address:
3257 Crete Avenue

Memphis, TN 38111 (0
,' C\

JON PH|PPS MCCALLA
j UN|TE STATES DlSTR|CT JUDGE
§

June ,2005

This document entered on the docket heat in compliance
W:rh nme ss arm/or 32{@) mch on Q" 12 'O §

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Case No: 2:04CR20256-01-M| Defendant Name: Aric BAD¥, SR. Page 2 of 5

PROBATION

The defendant is hereby placed on probation fora term of 4 Years. The defendants
period of supervision on probation will begin when he is released from state custody.

Whiie on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). if this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer
with the exception of attending church services in Herr\andol MS;
2. The defendant shall report to the probation officer as directed by the court or probation officer and shall

submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9, The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 2:04CR20256-01-N|| Defendant Name: Aric BADY, SR. Page 3 of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Nlonetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions ofprobation:

1. The defendant shall submit to drug and alcohol testing and treatment programs as directed
by the Probation Office.

2. The defendant shall make full financial disclosure

3. The defendant shall be prohibited from incurring new credit charges, opening additional lines

of credit or making an obligation for any major purchase without prior approval of the
Probation Officer.

The defendant shall seek and maintain full-time employment

The defendant shall cooperate with DNA collection as directed by the Probation Officer.
The defendant shall provide third-party risk notii'ication.

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CR|MINAL MONETARY PENALT|ES

The defendant shall paythefoliowing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00 $30,000.00

The Special Assessment shall be due immediately.

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FlNE
No fine imposed
REST|TUTION

Restitution in the amount of $30,000.00 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed beiow.

Priority
Total Amount of Order
Name of pa\[ee Amount Restitution Ordered or
of Loss Percentage
of Payment
NAT|ONAL BANK OF $30,000.00 $30,000.00
COMMERCE/SUNTRUST
BAN K,

Attn.' RECOVERY MGR.
309 MONROE AVE
i\/|EMPH|S, TN 38103

if the defendant makes a partial payment each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

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SCHEDULE OF PAYMENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income.

Unless the court has expressly ordered othenivise in the special instructions above, ifthisjudgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financial Responsibility Program, are made to the clerk of the
court unless othenivise directed by the court, the probation officer, or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed

   

UNlTsED`ATEs DlsTRIC COUR -WESTER DSTRIC oFTENNEssEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 148 in
case 2:04-CR-20256 Was distributed by faX, mail, or direct printing on
J unc 7, 2005 to the parties listed.

 

 

J uni S. Ganguli

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Carroll L. Andrc

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Stc. 800

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Honorablc J on McCalla
US DISTRICT COURT

